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               ORDERED in the Southern District of Florida on January 6, 2021.



                                                                       A. Jay Cristol, Judge
                                                                       United States Bankruptcy Court
_____________________________________________________________________________




                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                               www.flsb.uscourts.gov

             In re: Manuel J. Rojas,                                         Case No. 18-15647-AJC
                                                                             Chapter 13
                                   Debtor       I

                             ORDER SUSTAINING TRUSTEE'S OBJECTION TO CLAIM

                       This matter having been considered without hearing upon the Trustee's Objection to

             Claim [ECF No. 151 ], and the objector by submitting this form order having represented that the

             objection was served on the parties listed below, that the 30-day response time provided by Local

             Rule 3007-l(D) has expired, that no one listed below has filed, or served on the objector, a

             response to the objection, and that the relief to be granted in this order is the identical relief

             requested in the objection, and this court having considered the basis for the objection to the

             claim, it is




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         ORDERED that Trustee's objection to the following claim is SUSTAINED:

         Claim holder                         Claim Nos.                Disposition

         TBF Financial, Inc.                  26                        The claim is disallowed as the claim was
                                                                        filed after the claims bar date.



                                                              ###


         Submitted by:

        NANCY K. NEIDICH, ESQUIRE
        STANDING CHAPTER 13 TRUSTEE
        KENIA MOLINA, ESQ.
        FLORIDA BAR NO: 0085156
        P.O. BOX 279806
        MIRAMAR, FL 33027
        (954) 443-4402

          The party submitting the order shall serve a copy of the signed order on all required parties and file
          with the court a certificate of service conforming with Local Rule 2002-1 (F).




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